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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-02342

   GARY FOOTE,

          Plaintiff,

   v.

   STATE FARM FIRE AND CASUALTY COMPANY,

          Defendant.

                   JOINT MOTION TO EXTEND DISCOVERY DEADLINE

         Plaintiff/Counter Defendant Gary Foote (“Foote”) and Defendant/Counter Plaintiff State

  Farm Fire and Casualty Company( “State Farm”) file this Joint Motion to Extend Discovery

  Deadline. In support of this Motion, the Parties respectfully show the Court the following:

                                              MOTION

         1. Good cause exists to extend the discovery deadline in this case. “Demonstrating good

  cause under the rule ‘requires the moving party to show that it has been diligent in attempting to

  meet the deadlines, which means it must provide an adequate explanation for any delay.’” Strope

  v. Collins, 315 F. App’x 57, 61 (10th Cir. 2009), quoting Moothart v. Bell, 21 F.3d 1499, 1504

  (10th Cir. 1994). Pursuant to the Court’s Minute Order (EFC No. 66) entered on June 1, 2022, the

  deadline for the parties to conduct outstanding depositions and related filings was August 1, 2022.

         2. The parties have in good faith and diligently attempted to meet the current deadline.

  However, various issues have arisen causing unforeseen delays including one of State Farm’s

  Counsel withdrawing, State Farm’s designated representative being unavailable for his deposition

  on various dates due to surgery and other issues, as well as additional COVID-19 related illness




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  affecting the Parties and their Counsel which has complicated and delayed the scheduling of

  depositions. The parties have conferred in good faith and have agreed on scheduling outstanding

  depositions on September 8, 9, 14, and 20, 2022.

          3. Therefore, the Parties respectfully request a sixty-day extension of time, up to and

   including October 1, 2022, in which to complete outstanding depositions and related filings.

          4. No trial date has been set in this matter.

          5. This request will not prejudice any party or unduly delay these proceedings. Further,

   this request is in the interest of justice and fairness.

          6. The Parties agree to the relief requested in this motion.

          7. This is the third request State Farm and/or the Parties have made to extend the discovery

   deadline.

          8. Consistent with D.C.COLO.LCivR 6.1(c), undersigned counsel certify that a copy of

   this motion is being contemporaneously served upon their clients.

                                              CONCLUSION

          WHEREFORE, PREMISES CONSIDERED, for the good cause shown above, the Parties

   respectfully request that the Court enter an order granting this Motion and permitting the parties

   an extension of time, up to and including October 1, 2022, in which to conduct outstanding

   deposition and related filings.




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   Dated: August 26, 2022.                       Respectfully submitted,


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                                                 STATE FARM FIRE AND CASUALTY
                                                 COMPANY

                                    CERTIFICATE OF SERVICE

          I do hereby certify that a true and correct copy of the foregoing instrument was served on the
   following counsel of record in accordance with the Federal Rules of Civil Procedure on this the 26th
   day of August, 2022.

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                                                 /s/ Christopher P. Peirce



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